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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


       GILBERTO RODRIGUEZ CHAVERRA,

                          Plaintiff,

                    v.                              Civil Action No. 18-0289 (JEB)

       U.S. IMMIGRATION AND CUSTOMS
       ENFORCEMENT, et al.,

                          Defendants.


                           DEFENDANT’S STATEMENT OF FACTS

          Pursuant to Local Civil Rule 7(h), Defendant, U.S. Immigration and Customs

  Enforcement (“ICE”) respectfully submits this Statement of Material Facts Not in Genuine

  Dispute in support of its Opposition to Plaintiff’s Partial Motion for Summary Judgment, along

  with the Supplemental Declaration of Fernando Pineiro (“Supp. Decl. Pineiro”).

  1.      On June 1, 2017, Plaintiff submitted a Freedom of Information Act (“FOIA”) request to

  ICE requesting the following records – see Supp. Decl. Pineiro ¶ 6, Ex.1:

        All non-A-file agency records relating to Jeancarlo Alfonso Jimenez-Joseph, (“Jimenez”)
A204-603-723, including, but not limited to:

          (A) ICE's identification, interview, placement of a detainer on, arrest, and transfer of
              Jimenez in the Wake County, North Carolina Jail beginning on or around February 5,
              2017 and continuing until on or around March 3, 2017;

          (B) All agency records relating to ICE's transfer of Jimenez to the York County, South
              Carolina Detention Facility, detention of Jimenez at the facility, and subsequent
              transfer to the Stewart Detention Center (“SDC”) in Lumpkin, Georgia between March
              3, 2017 and March 7, 2017;

          (C) All Immigrant Health Services Corps records pertaining to Jimenez;

          (D) All records relating to Jimenez’s detention in SDC from on or around March 7, 2017
              until his death on or around May 15, 2017;
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       (E) All records created or obtained about Jimenez or his death after it occurred;

       (F) all inter-agency and external communications with any party regarding Jimenez;

       (G) All records about Jimenez created on or before March 3, 2017;

       (H) All notifications to ICE from CoreCivic (formerly known as the Corrections
           Corporation of America) regarding Jimenez’s medical or psychiatric treatment,
           disciplinary and classification history, and complaints and grievances, visitations, and
           phone logs; and

       (I) Any other records pertaining in any way to Jimenez’s identification, apprehension,
           detention, and death in ICE custody.


       2.        On September 11, 2017, ICE provided a response to Plaintiff indicating that the

information requested was being withheld in its entirety due 5 U.S.C. § 552(b)(7)(A) due to an

ongoing criminal law enforcement investigation. See Dkt. No. 1-9.

       3.       On October 23, 2017, ICE provided Plaintiff with a final determination and upheld

the application of FOIA Exemption 7(A). See Dkt. No. 1-12.

       4.       On October 3, 2017, Plaintiff submitted a separate FOIA request to ICE requesting

the following records – see Supp. Decl. Pineiro ¶ 7, Ex. 2:

            (1) Contracts and Agreements
                All contracts and agreements governing detention and medical operations at the
                Stewart Detention Center in Lumpkin, Georgia between January 1, 2017 and the
                date of the agency's response to this request. This request includes, but is not limited
                to, Inter-governmental services agreements with Stewart County, Georgia and any
                other state or local government entity providing ICE any services of any type at
                Stewart. It also includes any modifications, addenda, riders, or performance work
                statement incorporated to these agreements. These records are likely to be found in
                ICE's Office of Acquisition Management and/or ICE's Office of Detention
                Oversight. They are likely to include, but not be limited to, agreements with
                contractors Maxim Health Services, CoreCivic/CCA, TransCor, Stewart County,
                GA, the Nakamoto Group, and Creative Corrections.

            (2) Inspections
                All records of inspections at the Stewart Detention Facility between January 1, 2015
                and the date of the agency's response to this request. These inspections may have

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               been conducted by ICE Office of Detention Oversight, the American Correctional
               Association, or a private contractor such as the Nakamoto Group.

            (3) Significant Incident Reports/Significant Event Notifications
                All SIRs and SENs regarding any detainee or incident at the Stewart Detention
                Center from January 1, 2017 through the date of the agency's response to this
                request. These records are expected to be maintained digitally in ICE's information
                systems infrastructure, either at HQ, or within the Atlanta Field Office

            (4) IHSC Policy and Practice Materials
                All written policies, practices, and standards governing the performance of IHSC's
                medical duties at the Stewart Detention Center.
       .

       5.       On October 11, 2017, ICE acknowledged receipt of Plaintiff’s FOIA request; ICE

informed Plaintiff that due to the increasing number of FOIA requests received by ICE, there may

be delay in processing the request. Dkt. No. 1-15.

       6.       On February 8, 2018, Plaintiff filed a complaint asserting that ICE as of the date of

the complaint had not released responsive records. Dkt. No. 1

       7.       In August 2018, ICE began monthly productions of responsive records; in July

2019, ICE, having made fourteen production of records to plaintiff, completed its final release of

records. Supp. Decl. Pineiro ¶ 9, Ex. 3.

       8.       On October 17, 2019, the parties informed the Court that, after conferring with

Plaintiff, ICE identified additional potentially responsive records. See Dkt. No. 35.

       9.       ICE began producing supplemental records in October 2019, and having made four

supplemental production of records to plaintiff, completed its supplemental production in February

2020. Supp. Decl. Pineiro ¶ 10, Ex. 4.

       10.       On June 29, 2020, the parties informed the Court that, following additional

discussions and to address Plaintiff’s concerns with ICE responses to the FOIA requests, ICE was

conducting another round of supplemental searches. See Dkt. No. 42.



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       11.     On July 8, 2020, the Court ordered ICE to complete its supplemental searches by

August 7, 2020.

       12.     As a result of its supplemental search, ICE located approximately 3500 pages of

potentially responsive records and approximately 380 audio and video files. See Dkt. No. 47.

       13.     On August 21, 2020, Plaintiff filed its Motion for Partial Summary Judgment. See

Dkt. No. 45.

       14.     On September 15, 2020, with respect to this second supplemental search of

records, ICE released its first production of documents and expects to complete processing by

February 2021. Supp. Decl. Pineiro ¶ 11, Ex. 5.



Dated: October 5, 2020                      Respectfully submitted,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney

                                            Daniel F. Van Horn
                                            Chief, Civil Division
                                            D.C. Bar #924092

                                            By: /s/ Kathleene Molen
                                            KATHLEENE MOLEN
                                            Assistant United States Attorney
                                            555 4th Street, N.W.
                                            Washington, District of Columbia 20530
                                            Telephone: (202) 803-1572
                                            Kathleene.Molen@usdoj.gov

                                            Counsel for Defendants




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